       Case 19-20772          Doc 16       Filed 07/29/19 Entered 07/29/19 08:57:10                       Desc Main
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION


 In re: Mark Andrews                                           )            Case No. 20772
                                                               )
                                                               )            Chapter 13
                                                               )
 SSN: XXX-XX- 0332                             Debtors         )            Honorable Pamela S. Hollis


                              ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: CW Cushman Wakefield
     275 Grove Street
     Auburndale, MA 02466

        Attn: Payroll Department

 WHEREAS, the above named debtor has VXEPLWWHG a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                            CW Cushman Wakefield
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,
             Mark Andrews
 employer of BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,                                                           450.00
                                                    deduct from the earnings of the debtor the sum of $BBBBBBBBBBBB
 each month beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Glenn Stearns, Trustee at least once a month at the following address:

                                        Glenn Stearns Chapter 13 Trustee
                                                   P.O. Box 2368
                                              Memphis, TN 38101-2368
 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               )257+(&2857



 Date                    7/29/2019                                                                       BC

 Entered:
                                                                Jeffrey Allsteadt, Clerk, United States Bankruptcy Court

'HEWRURUAttorney Signature______________________
                            /s/ David M. Siegel                                               07/26/2019
                                                                                         Date:BBBBBBBBBBBBBBB

  ✔     ,DJUHHWRHQWU\RIWKLVRUGHUZLWKRXWIXUWKHUQRWLFHRUKHDULQJ

       Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
       I of the Chapter 13 Plan.
'PSN/P
